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         10
                                               UNITED STATES DISTRICT COURT
         11
                                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
         12

         13      THERESA SWEET, ALICIA DAVIS, TRESA
                 APODACA, CHENELLE ARCHIBALD,                           Case No. 19-cv-03674-WHA
         14      DANIEL DEEGAN, SAMUEL HOOD, and
                 JESSICA JACOBSON on behalf of themselves               Judge:     Hon. William H. Alsup
         15      and all others similarly situated,                     Courtroom: 12
         16                     Plaintiffs,
                                                                        DECLARATION OF FRANCIS GIGLIO IN
         17             v.                                              SUPPORT OF MOTION TO INTERVENE

         18      MIGUEL CARDONA, in his official capacity as            HEARING DATE: August 18, 2022, 8:00 AM
                 Secretary of the United States Department of
         19      Education, and                                         (Class Action)
                                                                        (Administrative Procedure Act Case)
         20      THE UNITED STATES DEPARTMENT OF
                 EDUCATION,
         21

         22                     Defendants.

         23
                        I, Francis Giglio, have personal knowledge of the facts stated herein and hereby declare,
         24
                 under penalty of perjury pursuant to 28 U.S.C. § 1746, that the following is true and correct:
         25

         26             1.      I am the Senior Vice President of Compliance and Regulatory Services at Lincoln

         27      Educational Services Corporation (“Lincoln”). I am over the age of 18 and suffer from no
         28      impairments that would prevent me from giving a declaration.

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Crutcher LLP                                                  1
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           1            2.      Lincoln provides diversified career-oriented post-secondary education to recent high

           2     school graduates and working adults. Lincoln currently operates schools on 22 campuses in 14 states,

           3     offering programs in skilled trades, automotive technology, healthcare services, hospitality services,

           4     and information technology. Those schools include the Lincoln Technical Institute, Lincoln College

           5     of Technology, and Euphoria Institute of Beauty Arts and Sciences. Lincoln’s schools are nationally

           6     accredited and participate in federal financial aid programs administered by the U.S. Department of

           7     Education (the “Department”) and applicable state education agencies and accrediting commissions.

           8            3.      Incorporated in New Jersey in 2003, Lincoln is the successor-in-interest to schools

           9     including Lincoln Technical Institute, Inc., which opened its first campus in the aftermath of World

         10      War II in Newark, New Jersey. Lincoln Technical Institute was founded in 1946 “on the principle of

         11      keeping our nation positioned as the world’s leading economy by providing invaluable training

         12      programs to help returning veterans rejoin the workforce.” A Message From Scott M. Shaw, Chief

         13      Executive Officer and President, https://www.lincolntech.edu/about/letter-from-ceo. Since its

         14      founding, Lincoln Technical Institute alone has seen more than a quarter of a million graduates pass

         15      through its programs. Id.

         16             4.      Lincoln’s mission is to provide its students with high-quality career-oriented training

         17      in its vocational programs, thereby serving students, local employers and their communities. By

         18      combining substantial distance training with traditional classroom-based training led by experienced

         19      instructors, Lincoln believes it offers its students a strong opportunity to develop practical job skills.

         20      Those job skills enable Lincoln’s students to compete for employment opportunities and to pursue

         21      salary and career advancement.

         22             5.      In my role as Senior Vice President of Compliance and Regulatory Services, I am

         23      responsible for ensuring Lincoln’s compliance with all accreditation standards and state regulations.

         24      I approve all responses to accreditation findings and review all applications to state, accrediting, or

         25      federal agencies. Since April 2021, I have served as Lincoln’s liaison with the Department in

         26      responding to the Department’s correspondence concerning borrower defense claims against Lincoln.

         27             6.      Before April 2021, Lincoln was not aware that any borrower defense applications had

         28      been made against it. On April 29, 2021, however, the Department notified Lincoln of “borrower

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           1     defense applications that make allegations regarding your school and that will require a fact-finding

           2     process pursuant to” departmental regulations. The Department’s letter also made a number of

           3     general requests for information to facilitate the Department’s fact-finding.

           4             7.      In all, the Department transmitted approximately 307 borrower defense applications to

           5     Lincoln in two tranches in May and July 2021. Many of the applications presented stale claims from

           6     students who attended Lincoln’s schools well over a decade ago, including as early as 1992.

           7             8.      The number of students submitting borrower defense applications represents a

           8     miniscule fraction of Lincoln’s student body over that time. Compared to the approximately 307

           9     borrower defense applications that the Department transmitted to Lincoln, over 340,000 students

         10      enrolled at Lincoln’s schools between 2005 and 2021.

         11              9.      When the Department transmitted these borrower defense applications to Lincoln,

         12      Lincoln had only 30 days to respond to the claims. However, Lincoln timely and comprehensively

         13      responded to each of the 307 applications. Lincoln also fully and timely complied with the

         14      Department’s general requests for information by September 2021.

         15              10.     As Lincoln explained in its responses to the borrower defense claims, Lincoln’s

         16      policies and practices refute any allegations of wrongdoing.

         17              11.     Lincoln understands the importance of employment rates for students selecting

         18      institutions and takes extensive measures to ensure that all published rates are accurate. Lincoln

         19      calculates its employment rates according to state and accreditor standards. To help ensure the

         20      accuracy of its reporting, Lincoln also employs a qualified third party to verify its placements.

         21              12.     Since at least June 2011, Lincoln has had in place a Code of Compliance, Ethics and

         22      Admission Policy—which Lincoln disclosed to the Department—that imposes high ethical standards

         23      on Lincoln’s admissions officers. Specifically, the Policy states that admissions officers should never

         24      “imply or guarantee that the school will find employment for the student” or “make explicit or

         25      implicit promises of employment or exaggerated statements regarding employment or salary

         26      prospects to prospective students.” The Policy also warns that admissions officers should “never

         27      imply that our credits may transfer to another college or institution and, in fact . . . affirm it is the

         28      receiving institution’s determination on whether or not to accept our credits.” Lincoln’s admissions

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           1     team reviews the Policy during training, and admissions officers found to be in violation of the Policy

           2     risk discipline and termination. In reviewing its own personnel, Lincoln has found that its admissions

           3     officers observe the Policy.

           4            13.     To the best of my knowledge, the Department has never adjudicated the borrower

           5     defense applications against Lincoln or made any findings of wrongdoing in accordance with the

           6     Department’s regulations. Lincoln is aware of no findings or even credible allegations of

           7     wrongdoing against it.

           8            14.     Lincoln first learned of a proposed settlement between the plaintiff class and the

           9     Department in this case when the parties filed their Notice of Motion and Joint Motion for

         10      Preliminary Approval of Settlement and Direct Notice to Class in this Court on June 22, 2022. For

         11      the first time, Lincoln became aware that the Department had agreed to include Lincoln on a list of

         12      schools that had purportedly engaged in “substantial misconduct,” Dkt. 246, at 3; Ex. C, and that the

         13      Department had promised full student loan forgiveness for each proposed class member associated

         14      with a listed school. Dkt. 246-1, at 6.

         15             15.     As currently drafted, the proposed settlement will severely harm Lincoln’s interests.

         16      Lincoln’s unfounded inclusion on a list of purported wrongdoers is inflicting, and will continue to

         17      inflict, substantial reputational harms on Lincoln and its schools. As recent media coverage shows,

         18      including Lincoln in such a list will erroneously associate Lincoln with allegedly proven

         19      wrongdoers.*

         20

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         23      *      See, e.g., Adam S. Minsky, 264,000 Borrowers Will Get $6 Billion In Student Loan
                        Forgiveness In ‘Landmark’ Settlement Agreement With Biden Administration, Forbes (June
         24             23, 2022), https://www.forbes.com/sites/adamminsky/2022/06/23/student-loan-forgiveness-
                        another-264000-borrowers-will-get-debt-cancelled-in-landmark-settlement-agreement-with-
         25             biden-administration/?sh=fb62b4c5dfc8 (associating the listed schools in the proposed
                        settlement with a prior scandal involving a “notorious” institution facing “widespread
         26             allegations of misconduct”); Addy Bink, Attended One of These Schools? You May be
                        Eligible for Student Loan Forgiveness, Nexstar Media Wire (July 10, 2022),
         27             https://fox8.com/news/nexstar-media-wire/attended-one-of-these-schools-you-may-be-
                        eligible-for-student-loan-forgiveness (recounting history of programs that “lacked
         28             certifications and accreditation” and engaged in “pervasive and widespread misconduct”).

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           1            16.     The consequences of these reputational harms also ultimately fall on Lincoln’s

           2     students. In securing employment, Lincoln’s students and alumni depend not only on the training

           3     they receive at Lincoln, but on Lincoln’s leading reputation as a provider of technical skills.

           4            17.     As currently drafted, the proposed settlement also exposes Lincoln to additional

           5     regulatory risk from state regulators and accreditation boards. State governments could improperly

           6     attempt to leverage the settlement to bring de-licensing proceedings or consumer protection actions

           7     against Lincoln’s schools. The proposed settlement also could spur state governments and

           8     accreditation boards to open new investigations into Lincoln’s recruiting and educational practices,

           9     without any finding of wrongdoing under the Department’s regulations.

         10             18.     Private plaintiffs also could use the proposed settlement as a springboard for actions

         11      seeking damages under state law causes of action, including actions for education malpractice or

         12      fraud and misrepresentation. While any such actions would be unfounded, the litigation risk is a

         13      substantial burden for Lincoln.

         14             19.     At minimum, the proposed settlement likely will lead to increased numbers of

         15      unmeritorious borrower-defense applications, to which Lincoln will be forced to respond. In just the

         16      week after the proposed settlement was filed, the Department reportedly “received more than 60,000

         17      new borrower defense applications,” while the Department received only about 100,000 such claims

         18      in all of 2021. Michael Stratford, Inside the Deal That Could Revamp Loan Forgiveness For

         19      Defrauded Borrowers, Politico (July 5, 2022), https://www.politico.com/newsletters/weekly-

         20      education/2022/07/05/inside-the-deal-that-could-revamp-loan-forgiveness-for-defrauded-borrowers-

         21      00043893.

         22             20.     By being subjected to the various harms identified above, Lincoln would be

         23      significantly injured if the proposed settlement is approved without a prior opportunity for Lincoln to

         24      provide substantive input.

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           1               I declare, under the penalty of perjury under the laws of the United States that these facts are

           2     true and correct and that this Declaration is executed this 13th day of July, 2022 at Westfield, New

           3     Jersey.

           4

           5     EXECUTED: July 13, 2022

           6     Westfield, New Jersey

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                                                                                                                       .
           9                                                                             Francis Giglio
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 1                             CERTIFICATE OF SERVICE
 2        I hereby certify that on July 13, 2022, the foregoing document entitled
 3 DECLARATION OF FRANCIS GIGLIO IN SUPPORT OF MOTION TO

 4 INTERVENE was filed electronically with the Clerk of the Court for the United

 5 States District Court, Northern District of California using the ECF system. Upon

 6 completion the ECF system will automatically generate a “Notice of Electronic

 7 Filing” as service through ECF to registered e-mail addresses of parties of record in

 8 the case.

 9
10                                      /s/ Piper A. Waldron
11
                                        Piper A. Waldron

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